       Case 3:18-cv-00163-KRG            Document 14   Filed 04/23/19    Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LELAND FOSTER,
Individually,

                      Plaintiff
         v.                                              Civil Action No. 3:18-cv-163

B.S.S. HOSPITALITY, INC.                                 HON. KIM R. GIBSON
a Pennsylvania corporation for profit,


                      Defendant



                STIPULATION OF DISMISSAL WITH PREJUDICE


       The parties hereby notify the Court that all matters before the Court have been

settled and resolved. Pursuant to a confidential Release and Settlement Agreement

entered into between the parties, the parties stipulate that this case is dismissed with

prejudice, with each party to bear its own attorneys’ fees, costs, and expenses. The

parties further stipulate that the Court retains jurisdiction over this matter to enforce

the terms of the Release and Settlement Agreement.

                                            Respectfully submitted,


Dated: April 23, 2019                          Dated: April 23, 2019

/s/ Owen B. Dunn, Jr.                           /s/ Alisa N. Carr
Owen B. Dunn, Jr. (0074743)                     Alisa N. Carr, Pa. I.D. No. 56658
LAW OFFICES OF OWEN DUNN, JR.                   LEECH TISHMAN FUSCALDO & LAMPL,
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Counsel for Plaintiff                           Counsel for B.S.S. Hospitality, Inc.
      Case 3:18-cv-00163-KRG         Document 14     Filed 04/23/19   Page 2 of 2




                                         ORDER
Pursuant to the above Stipulation,

       IT IS ORDERED that this matter is dismissed with prejudice, with each party to

bear its own attorneys’ fees, costs, and expenses.

       IT IS FURTHER ORDERED that the Court retains jurisdiction over this matter to

enforce the terms of the Release and Settlement Agreement.




Dated: ____________________, 2019




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                                               JUDGE KIM R. GIBSON




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